                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE MIDDLE DISTRICT OF ALABAMA

IN RE:                                                        Case No. 17-81701-BPC
                                                              Chapter 13
NAJAVA FRIDAY




                              Debtor (s)


PURSUANT TO LOCAL RULE 3007-1, THIS OBJECTION WILL BE TAKEN UNDER ADVISEMENT BY
THE COURT AND MAY BE RULED UPON UNLESS A PARTY IN INTEREST FILES A RESPONSE
WITHIN 30 DAYS OF THE DATE OF SERVICE. RESPONSES MUST BE SERVED UPON THE MOVING
PARTY AND, IN THE MANNER DIRECTED BY LOCAL RULE 5005 -1, FILED WITH THE CLERK
ELECTRONICALLY OR BY U.S. MAIL ADDRESSED AS FOLLOWS: CLERK, U.S. BANKRUPTCY
COURT, ONE CHURCH STREET, MONTGOMERY, AL 36104.

                                     TRUSTEE'S OBJECTION TO CLAIM
   COMES NOW, the Trustee, in the above-styled case, and objects to Court Claim #22 of Central Park
Apartments. As grounds for said objection, the Trustee states as follows:

         1. This case was filed on or about December 12, 2017.
         2. The Meeting of Creditors was first set on February 07, 2018.
         3. Rule 3002(c) of the Bankruptcy Rules of Procedure requires that a claim be filed within
         70 days after the order for relief, and not later than 180 days after the order for relief for
         governmental units.
         4. The claim of Central Park Apartments was filed on October 14, 2020.
         5. The last date for timely filing claims in this case was on February 20, 2018.
         6. It is the Trustee's contention that a purpose would be served in this case by the granting
         of this objection to claim.

    WHEREFORE, Trustee prays that the claim filed by Central Park Apartments in the amount of
$5,318.73 be disallowed as a late-filed claim, and for any such other relief as this Court deems proper.

    Respectfully submitted this Thursday, 15 October, 2020.

                                                                    Sabrina L. McKinney
                                                                    Chapter 13 Standing Trustee

                                                                 By: /s/ Sabrina L. McKinney
                                                                    Sabrina L. McKinney
                                                                    Chapter 13 Trustee
Office of the Chapter 13 Trustee
P.O. Box 173
Montgomery, AL 36101-0173
Phone:(334) 262-8371
Fax:(334) 262-8599
Email: 13Trustee@ch13mdal.org
                                      CERTIFICATE OF SERVICE

     I, the undersigned, hereby certify that I have served copies of the foregoing Trustee 's Objection to
Court Claim #22 of Central Park Apartments on the parties listed below by either electronic mail or by
First-Class U.S. Mail, postage prepaid and properly addressed, this Thursday, October 15, 2020.


                                                                /s/ Sabrina L. McKinney
                                                                Sabrina L. McKinney
                                                                Chapter 13 Trustee
Copy to: NAJAVA FRIDAY
         CENTRAL PARK APARTMENTS
         CHARLES M INGRUM JR
